Case 1:25-cv-00613-MLB Document 47 Filed 06/30/25 Pagei1of3

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JUN 30 2025
Part 19 Doc. 03-B KEVIN P. WEIMER, Clerk

“OX Upp Peruty Clerk
THE OFFICE OF ULYSSES T. WARE

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Utware007@gmail.com

Thursday, June 26, 2025, 6:22:21 AM

VIA U.S. MAIL AND COURTESY COPY VIA ELECTRONIC MAIL TO CHAMBERS

The Honorable Michael L. Brown

United States District Judge .

United States District Court for the Northern District of Georgia
Richard B. Russell Federal Building and United States Courthouse
75 Ted Turner Drive, SW

Atlanta, GA 30303-3309

RE: Notice of Intent to File Appellants’ Reply Brief Pursuant to Fed. R. Bankr. P. 8018(b)
in Ware, et al. v. Alpha Capital, AG, et al., Case No. 1:25-cv-00613-MLB (N.D. Ga.) (Appeal
from USBC NDGA Case No. 03-93031-WLH).

Your Honor, Judge Brown:

Please accept this letter as formal notification from Appellants Ulysses T. Ware and Group
Management ("Appellants") in the above-referenced appellate proceeding.

Appellants hereby provide notice to the Court and all parties of record of their intent to file an
Appellants’ Reply Brief in this matter. This Reply Brief will be filed in accordance with Federal
Rule of Bankruptcy Procedure 8018(b)(1), which permits an appellant to file a reply brief within
14 days after service of «he appellee's brief.

Although, as of the date of this letter, the only brief, a non-merits brief, filed by any designated
Appellee is the "Special Appearance Brief of State-Bar Non-Parties" (Dkt. 45) submitted by the
State Bar of Georgia Appellees, which Appellants contend is not a merits brief and is itself
manifestly and patently frivolous and sanctionable, Appellants intend to address the arguments
raised therein, as well as to reply to any other submissions that may be construed by the Court as
an appellee's brief or that otherwise warrant a reply to fully develop the record for this Court's
consideration. Legally, all named Appellees in the Notice of Appeal, Dkt. 279 (03-93031), have
knowingly and willfully defaulted as defined in Rule 8018(a)(1), and all failed to file a timely
response brief opposing the requested reliefs—that is, as a matter of law implied and actual
consent for the Court to enter final judgment against their legal and pecuniary interests.

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Appellants intend to fully exercise all rights afforded to them under the Federal Rules of
Bankruptcy Procedure and the United States Bankruptcy Code in the diligent prosecution of this
appeal. The forthcoming Reply Brief will further elucidate Appellants’ positions on the issues
raised in their Opening Appellate Brief (Dkt. 41) and will respond to any contentions advanced by
any Appellee.

Appellants thank the Court for its attention to this matter.
Wome “a. submitted,

/s/ Pres a T. 4. WN

Ulysses T. Ware

Attomey in fact for the Appellants

Ulysses T. Ware and Group Management. -

ce: All Appellees Named in the Notice of Appeal (Dkt. 279, Bankr. Case No. 03-93031-
WLH) (Via Electronic Mail as previously served).

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123 Linden Blvd., Ste 9-L . pe _# MID-ISLAND NY 117
Brooklyn, NY 11226

Filed on June 27, 2025
Chambers of the Hon. Michael L. Brown.

Re: Appellants’ Judicial Request #4.

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d States District Court (NDGA)
JUN 30 95 Richard B. Russell United States Courthouse
75 Ted Turner Drive, SW

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